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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION


 APRIL SAMP,                                         Case No. 4:20-cv-00323-CRW-SBJ

         Plaintiff,

 vs.                                                        STIPULATED VOLUNTARY
                                                           DISMISSAL OF CLAIMS WITH
 TEGNA BROADCAST HOLDINGS, LLC                                    PREJUDICE
 d/b/a WOI-TV, TEGNA INC., SUSAN
 MCELDOON, PATTI DENNIS, and PAUL
 TRELSTAD,

         Defendants.


        Plaintiff April Samp and Defendants TEGNA Broadcast Holdings, LLC d/b/a WOI-TV;

TEGNA Inc.; Susan McEldoon; Patti Dennis; and Paul Trelstad; through their undersigned

counsel, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Local Rule 41(b),

hereby stipulate and agree that this action is dismissed in its entirety with prejudice, with all parties

to bear their own costs and attorneys’ fees.

        WHEREFORE, the parties respectfully request the Clerk of Court record the dismissal

with prejudice of Plaintiff’s claims.


   /s/ Brooke Timmer                                       /s/ Kendra D. Simmons
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